       EXHIBIT C




Case 1:23-cv-00423-WO-JLW Document 76-5 Filed 02/26/24 Page 1 of 5
April 21, 2023


The Honorable Robert T. Reives, II
Democratic Leader
NC House of Representatives
300 N. Salisbury Street, Rm. 506
Raleigh, NC 27603

Dear Leader Reives:

I was informed by some members of the press late yesterday afternoon that you have concerns
related to the implementation of Odyssey (eCourts) in our pilot counties of Harnett, Lee,
Johnston, and Wake. I want to provide you with an update on the progress made since our
two in-person meetings earlier this spring. I must also respectfully refute significant
misinformation that has been shared with you. We value the productive working
relationships we’ve had with you and members of the General Assembly, as well as the strong
support the legislature has given to this transformative project. We all share the goal of
successfully implementing eCourts and enabling judicial officials, families, small business
owners, law enforcement officers, and others to conduct court business swiftly, fairly, and
efficiently.

As you know, the transition to eCourts has been a long-term project covering many years and
three judicial administrations. Former Chief Justice Mark Martin convened the North
Carolina Commission on the Administration on Law and Justice (CALJ) shortly after taking
office in 2015. CALJ was comprised of over sixty members, including leaders from the
judiciary, academia, law enforcement, the private bar, other government agencies, and the
public. Over two years, CALJ held sixty-two meetings and four public hearings, and solicited
comments from multiple judicial stakeholder reports. In March 2017, CALJ released its final
report and noted among its recommendations the need to transition from a paper-based court
system to a vendor-developed, fully-integrated, digital case management system.

A press release issued yesterday incorrectly stated that the eCourts procurement process did
not account for state specific functionality. NCAOC partnered with the National Center for
State Courts (NCSC) in July 2018 to develop a Request for Proposal (RFP) to effectuate the
recommendation for a digital transformation. The goal of this partnership was to leverage
and incorporate best practices and “lessons learned” from other states into North Carolina’s
RFP process. Over several months, NCAOC and the NCSC held public meetings across the
state to solicit feedback from judicial branch and law enforcement stakeholders. NCSC
facilitated sessions in eight different cities and accepted feedback via an online tool to identify
business needs for incorporation into the RFP. After receiving seven bids, a vendor selection
committee consisting of judges, clerks, criminal attorneys, courthouse staff, and NCAOC




      Case 1:23-cv-00423-WO-JLW Document 76-5 Filed 02/26/24 Page 2 of 5
personnel diligently reviewed each bid and conducted vendor demonstrations of the finalists
in Raleigh. In December 2018, the vendor selection committee unanimously recommended
Tyler Technologies, Inc. (Tyler) after completing its review. After months of negotiation,
NCAOC executed a ten-year contract with Tyler in June 2019 under the direction of former
Chief Justice Cheri Beasley. The contract includes four major eCourts components: Guide &
File, Brazos, eWarrants, and Odyssey.

Guide and File

Guide & File is a web-based service that enables attorneys and the public to create legal
documents for filing by following easy-to-understand interview questions. Guide & File
currently offers interviews in fourteen different case types, such as probate, small claims,
and domestic violence protective orders. Since Guide & File’s inception, users have conducted
more than 31,000 interviews and approximately 90% of surveyed users consistently rate the
system as “helpful” or “very helpful.”

Brazos

From December 2020 through April 2021, NCAOC implemented Brazos, a replacement of
North Carolina’s legacy eCitation system. Brazos is available to all North Carolina law
enforcement agencies (at no software costs to the agencies) and allows law enforcement
officers to record and transmit data to efficiently process citation information to the court
system. Brazos implementation was preceded by law enforcement officer solution validation
and a month-long pilot by five law enforcement agencies. NCAOC also partnered with the
North Carolina State Highway Patrol to provide training to 110 local law enforcement
agencies over three months. Thanks to this partnership, over 564 law enforcement agencies
now use Brazos which generates 93% of all citations statewide.

eWarrants

In July 2022, NCAOC launched eWarrants, which replaced the legacy, mainframe hosted
NCAWARE warrants repository. Unlike Guide & File and Brazos, eWarrants was a new
product that Tyler developed specifically for North Carolina. Prior to the statewide launch,
law enforcement and judicial stakeholders were given regular updates via email, stakeholder
conference presentations, and social media channels. NCAOC conducted over 170 pre-
implementation training sessions with magistrates and clerks and over 60 law enforcement
train-the-trainer training sessions.

Odyssey

NCAOC launched the final component of the eCourts initiative, Odyssey, in four pilot
counties (Harnett, Johnston, Lee, and Wake) on February 13. Odyssey is a cloud-based,



 North Carolina Judicial Branch                                                     Page 2 of 4



       Case 1:23-cv-00423-WO-JLW Document 76-5 Filed 02/26/24 Page 3 of 5
integrated case management system that is designed to replace and consolidate NCAOC’s
legacy criminal, civil, and juvenile mainframe hosted indexes, the agency’s financial
management system, and the court system’s paper-based filing and records management
processes. Odyssey also includes an online public search component, Portal.

The press release incorrectly stated that NCAOC failed to sufficiently consider a data
integration with DMV. Several years before launching Odyssey, NCAOC began working with
external agencies (GDAC, DMV, OST, DOR, etc.) to develop new integrations to avoid any
interruptions in exchanging data. For example, NCAOC and DMV initiated their
development efforts in October 2019 and finalized an interagency memorandum of agreement
in September 2020 outlining the scope of the new integration. From 2019 to present, NCAOC
has and continues to regularly meet with external agencies to address data integration issues
or concerns.

In anticipation of the digital transition, NCAOC began working with the North Carolina
General Assembly and other stakeholders to update the statutes, rules, and procedures
governing paper processes to accommodate future digital case management. These
conforming changes were enacted in Session Laws 2019-243, 2021-47, and 2022-47. Current
House Bill 193 contains additional proposed changes suggested by elected clerks and other
stakeholders. NCAOC’s Rules of Recordkeeping Committee, a longstanding group of elected
clerks that promulgates the Rules of Recordkeeping for paper records, formed a working
group to develop eCourts Rules of Recordkeeping. These comprehensive rules govern
recordkeeping by the clerk’s office in Odyssey and were adopted in February 2023.

In the months preceding Odyssey go-live, NCAOC offered over 90 multi-day training sessions
in the four pilot counties and Mecklenburg County. NCAOC staff also conducted over 50
mock court walkthroughs in local courthouses that included all judicial groups. Attorneys
practicing in pilot counties were given the opportunity to attend several sessions of local, in-
person training and to access on-demand training on NCAOC’s website on the use of File &
Serve. NCAOC remains in contact with leaders within the North Carolina Bar Association
and other private attorneys to solicit and answer any questions relating to the Odyssey
transition.

Starting on February 13, 2023, NCAOC provided dedicated on-staff support in each of the
pilot counties to assist with questions and to report any software defects or procedural
issues. These staffing levels are as follows: 11 in Harnett, 11 in Johnston, 10 in Lee, and 31
in Wake. NCAOC has and will continue to ask Tyler to provide on-site technical staff to
monitor system stability, help troubleshoot issues, and employ fixes as necessary.

To be sure, the transition to Odyssey has not been easy. Since February 13, NCAOC has
logged and reported 573 application defects to Tyler. These defects range from minor
configuration issues to errors within application processes that cause significant system



 North Carolina Judicial Branch                                                        Page 3 of 4



       Case 1:23-cv-00423-WO-JLW Document 76-5 Filed 02/26/24 Page 4 of 5
latency. To date, Tyler has resolved 393 of these issues. With assistance from DMV, Tyler
successfully resolved an integration error that transmitted incorrect speeds on 22 speeding
citations. NCAOC mailed notices to each affected driver alerting them to the error. NCAOC
has identified several high priority defects that must be resolved prior to further expansion
and has delayed the scheduled Mecklenburg County implementation until such resolutions
are validated.

The press release also incorrectly stated that Odyssey issues have delayed the release of
incarcerated individuals by “months at a time.” NCAOC takes any reports of improper
detention very seriously. NCAOC has worked with local officials to investigate any specific
complaints and has not found an instance where an Odyssey defect led to an individual’s
delayed release from incarceration.

Despite these defects, pilot county courts remain fully operational and have handled nearly
50,000 cases using Odyssey. Handling these cases digitally has saved an estimated 465,000
pieces of paper from being added to court files. Public users conduct approximately 10,000
Portal searches daily, saving thousands of trips to local courthouses and calls to the clerk’s
office. NCAOC is grateful to local courthouse officials and staff for their great work during
this transition and we remain committed to improving the Odyssey experience for all users.

eCourts is a once-in-a-generation transformation spanning three judicial administrations
and NCAOC is steadfast in ensuring a successful and complete statewide implementation.
Again, I appreciate the productive working relationship we have with you and other members
of the General Assembly and encourage you to share future concerns directly with NCAOC
as we are the entity best equipped to address those issues. We appreciate your past and
continued collaboration with our team in improving the statewide administration of
justice. Thank you for your service to our great state.

Sincerely,




Ryan S. Boyce
Director




 North Carolina Judicial Branch                                                      Page 4 of 4



       Case 1:23-cv-00423-WO-JLW Document 76-5 Filed 02/26/24 Page 5 of 5
